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                                  CAUSE NO. 24-07-11639                 EXHIBIT 1

DUSTIN ETTER, ALLIANCE         §                  457th JUDICIAL DISTRICT COURT
ENERGY PARNERS, LLC, AE        §
PARTNERS HOLDINGS, INC., AE    §
PARTNERS HOLDINGS, LLC         §
AEP ASSET HOLDINGS, LLC,       §
AND INVICTIS DRILLING          §
MOTORS, LLC                    §
v.                             §
JEROD P. FURR, CORINA FURR,    §
ALLIANCE FARM & RANCH, LLC,    §
AE PARTNERS HOLDINGS, LLC,     §
AE PARTNERS HOLDINGS, INC.,    §
ALLIANCE ENERGY PARTNERS, LLC, §
AEP ASSET HOLDINGS, LLC, and   §
INVICTIS DRILLING MOTORS, LLC  §                   MONTGOMERY COUNTY, TEXAS

       RESPONSE TO PLAINTIFF’S MOTION TO APPOINT RECEIVER

TO THE HONORABLE VINCENZO J. SANTINI:

       AE Partners Holdings, Inc. and Alliance Energy Partners, LLC file this

Response to Plaintiff’s Motion to Appoint Receiver (the “Motion”) and in opposition to

the relief sought in the Motion, show the following:

                           ALLIANCE ENERGY PARTNERS, LLC

       1.      Dustin Etter lacks standing to request the Court to appoint a receiver to

manage Alliance Energy Partners, LLC. In the Motion, Mr. Etter admits that AE

Partners Holdings, Inc. is the sole owner and member of Alliance Energy Partners,

LLC.    See The Motion at p. 1. Under Texas Law, to have standing to request

appointment of a rehabilitative receiver, the action must be brought by an owner or

member of the domestic entity. TEX. BUS. ORG. CODE § 11.404(a)(1). With no legal

support, Dustin Etter tells this Court that he has derivative standing to seek a

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receivership under Section 21.552 of the Texas Business Organizations Code.

However, there is nothing authorizing derivative standing to seek a receiver under

Section 11.404(a)(1), the statute is clear, only an owner or member of a domestic entity

has standing, Dustin Etter is not an owner or member of Alliance Energy Partners,

LLC, thus, he cannot bring an action to appoint a rehabilitative receiver. Dustin Etter

states that the receivership is being sought because Alliance Energy Partners, LLC is

insolvent and is being operated in a manner that is oppressive, both items that can be

brought under Section 11.404(a)(1), which Dustin Etter has no standing to bring.

Thus, the Motion to Appoint a Receiver related to Alliance Energy Partners, LLC

should be denied.

       2.      Further, although it is true that Alliance Energy Partners, LLC has

lawsuits pending against it, Dustin Etter fails to tell the Court why those lawsuits

exist. Alliance Energy Partners, LLC had agreements with its creditors related to

payment of debts, however, after filing this lawsuit Dustin Etter went to these

creditors and told them that he filed this lawsuit and that Jerod Furr was embezzling

money from it. See Declaration of Jerod Furr, attached hereto as Exhibit A. Those

statements could not be further from the truth. It is no secret that Alliance Energy

Partners, LLC and AE Partners Holdings, Inc. are financially struggling, however, that

is the reality in the directional drilling industry right now. Id. Jerod Furr is confident

that the financial struggles of Alliance Energy Partners, LLC and AE Partners

Holdings, Inc. can be turned around when the oil and gas business picks up. Id.

       3.      The filing of these lawsuits against Alliance Energy Partners, LLC has

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left Jerod Furr, the sole director of AE Partners Holdings, Inc., with no choice but to

place Alliance Energy Partners, LLC in bankruptcy. Id. Dustin Etter is aware of this

plan, and his attorney has even indicated that he would not be generally opposed to a

bankruptcy proceeding.        See Email from Noah Meek to Jerod B. Martin dated

November 21, 2024 at 6:09 P.M., attached hereto as Exhibit B. Notably, this Motion

to Appoint Receiver was filed after Dustin Etter was made aware of the intention for

Alliance Energy Partners, LLC to file bankruptcy.

                              AE PARNTERS HOLDINGS, INC.

       4.      To grant the Motion to appoint a receiver for AE Partners Holdings, Inc.,

Dustin Etter must show:

       AE Partners Holdings, Inc. is insolvent or in imminent danger of
       insolvency;

       The governing persons of the entity are deadlocked in the management
       of the entity’s affairs, the owners or members of the entity are unable to
       break the deadlock, and the irreparable injury to the entity is being
       suffered or is threatened because of the deadlock;

       the actions of the governing persons of the entity are illegal, oppressive,
       or fraudulent;

       the property of the entity is being misapplied or wasted; or

       the shareholders of the entity are deadlocked in voting power and have
       failed, for a period of at least two years, to elect successors to the
       governing persons of the entity whose terms have expired or would have
       expired on the election and qualification of their successors.

TEX. BUS. ORGS. CODE § 11.404(a)(1). Dustin Etter’s only claim is that AE Partners

Holdings, Inc. is being operated in a manner that is oppressive. See Motion at 1.

       5.      Section 11.404(b) places significant restrictions on the availability of a

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receivership:

       (1) the receivership must be “necessary ... to conserve the assets and
       business of the corporation and to avoid damage to parties at interest”;

       (2) “all other requirements of law [must be] complied with”; and

       (3) “all other remedies available either at law or in equity” must be
       “inadequate.”

TEX. BUS. ORGS. CODE § 11.404(b). “These requirements demonstrate the Legislature’s

intent that receivership—which replaces the managers the shareholders chose with the

courts’ chosen managers—is a “harsh” remedy that is not readily available.” Ritchie

v. Rupe, 443 S.W.3d 856, 867 (Tex. 2014).       In fact, by requiring termination of the

receivership immediately after the condition that necessitated the receiver is remedied,

the Legislature has expressed its intent that receivership be a temporary fix for exigent

circumstances. Id.; TEX. BUS. ORGS.CODE § 11.404(c). But here, there are no exigent

circumstances that will be remedied by choosing new management. The only change

needed is for the market to turn around and for oil producer to drill more new wells.

       6.       Directors, or those acting as directors, owe a fiduciary duty to the

corporation in their directorial actions, and this duty “includes the dedication of [their]

uncorrupted business judgment for the sole benefit of the corporation.” Int’l Bankers

Life Ins. Co. v. Holloway, 368 S.W.2d 567, 577 (Tex.1963); see also Gearhart Indus., Inc.

v. Smith Intern., Inc., 741 F.2d 707, 723–24 (5th Cir.1984) (describing corporate

director's fiduciary duties of obedience, loyalty, and due care). Actions of a director are

only oppressive if they are “inconsistent with the honest exercise of business judgment

and discretion.” Ritchie, 443 S.W.3d at 869.      All actions taken by Jerod Furr have

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been within the honest exercise of his business judgment and discretion. See Exhibit

A.

       7.      Further, if lesser remedies are available under either the common law or

other statutory provisions, and those remedies are adequate, the Court cannot appoint

a rehabilitative receiver. TEX. BUS. ORG. CODE § 11.404(b)(3). The kinds of actions that

support a shareholder action for receivership under the “oppressive” prong of the

statute are the kinds of conduct that also may support other causes of action, such as

fraud or breach-of-fiduciary-duties to the corporation. Id.; Ritchie, No. 11-0447, at 874.

In Ritchie, the Texas Supreme Court ruled that prior to granting a receivership, the

trial court was required to determine whether the plaintiff was entitled to remedies for

breach of fiduciary duty and whether those remedies were adequate. Id. The Court

has made no such determination here, nor has it been asked to.

       8.      The Motion is simply another half-hearted attack by Dustin Etter to gig

Jerod Furr, just as when he filed this lawsuit and got a TRO from this Court, but failed

to carry his burden of proof to obtain a temporary injunction. Dustin Etter further

failed to show the Court what would be necessary to protect AE Partners Holdings, Inc.

if a receiver is appointed. TEX. CIV. PRAC. & REM. CODE § 64.023. AE Partners

Holdings, Inc. has all kinds of assets, it is likely that any new manager would require

payment of more than $250,000.00 a year, a payment that AE Partners Holdings, Inc.

cannot make at this time. See Exhibit A. The inability to make this payment is not

because of Jerod Furr as Dustin Etter seems to want this Court to believe. The

inability to pay is based on the current political climate in which drilling is depressed.

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Id. Jerod Furr is optimistic that with the current election results, the oil industry will

turn around and AE Partners Holdings, Inc. will be making money again. No matter

how Dustin Etter puts it, the problems with the business all surround the market

conditions, and new management cannot change the market.

       9.      The required exigent circumstances do not exist here. There has been no

ruling that Dustin Etter has been oppressed. Dustin Etter has adequate remedies at

all, namely the lawsuit itself. Jerod Furr, the sole director of AE Partners Holdings,

Inc. is acting on his business judgment, thus, the Court should deny the Motion.

                                         PRAYER

       AE Partners Holdings, Inc. and Alliance Energy Partners, LLC respectfully pray

that the Court deny the Motion, and grant to them any such other and further relief

to which they show themselves justly entitled.

                                                Respectfully submitted,

                                                   /s/ Alyssa M. Cuellar
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                                                ATTORNEYS FOR JEROD P. FURR,
                                                CORINA FURR, ALLIANCE FARM &
                                                RANCH, LLC, AE PARTNERS
                                                HOLDINGS, INC., ALLIANCE
                                                ENERGY PARTNERS, LLC, AEP

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                                             ASSET HOLDINGS, LLC’S, and
                                             INVICTIS DRILLING MOTORS, LLC


                              CERTIFICATE OF SERVICE

      This is to certify that on December 12, 2024, the foregoing Response to Motion
to Appoint Receiver was served via e-service on the following counsel of record
pursuant to Rules 21 and 21a of the Texas Rules of Civil Procedure:


Noah Meek
IRELAN MCDANIEL, PLLC, LLP
2520 Caroline Street, 2nd Floor
Houston, Texas 77004
                                              /s/ Alyssa M. Cuellar
                                             Alyssa M. Cuellar




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AE PARTNERS HOLDINGS, LLC,     §
AE PARTNERS HOLDINGS, INC.,    §
ALLIANCE ENERGY PARTNERS, LLC, §
AEP ASSET HOLDINGS, LLC, and   §
INVICTIS DRILLING MOTORS, LLC  §                 MONTGOMERY COUNTY, TEXAS

                       DECLARATION OF JEROD FURR

       My name is Jerod Furr, my date of birth is May 18, 1975, my address is 5450

Honea Egypt Road, Montgomery, Texas 77316, United States of America. I am over

eighteen years of age, I am of sound mind and body, and I am capable of making this

declaration. I have personal knowledge of all matters stated herein and I declare

under penalty of perjury that the following is true and correct:

       I am the sole director of AE Partners Holdings, Inc. AE Partners
       Holdings, Inc. is the sole owner and member of Alliance Energy Partners,
       LLC.

       I am aware that Alliance Energy Partners, LLC is being sued by various
       creditors. However, payment plans for these debts were set up long
       before this lawsuit was filed by Dustin Etter. After being fired and
       removed from the board of directors of AE Partners Holdings, Inc.,
       Dustin Etter told customers and vendors that he was suing me and that
       I embezzled money from Alliance Energy Partners, LLC and AE Partners
       Holdings, Inc., which is not true.

       Because of the lawsuits against Alliance Energy Partners, LLC, I have no

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       choice but to place Alliance Energy Partners, LLC into bankruptcy.
       Dustin is aware of this plan as the attorney who was going to handle this
       bankruptcy emailed Dustin’s attorney to inform him of this plan.

       All of the actions I have taken in relation to Alliance Energy Partners,
       LLC and AE Partners Holdings, Inc. have been within my honest exercise
       of my business judgment and discretion.

       AE Partners Holdings, Inc. has all kinds of assets, I have been in the
       industry for many years, and to hire someone to manage those assets
       would cost in excess of $250,000.00. At this time, AE Partners Holdings,
       Inc. does not have the ability to pay anyone that kind of money. In fact,
       I have not taken a salary in many months because of the financial
       situation. Appointing a new manager to manage AE Partners Holdings,
       Inc. will not fix any of the financial problems that the business is facing.
       The only way to turn these problems around is for the market to flip and
       for oil producers to drill new wells. I am hopeful that with the new
       president, that is exactly what is going to happen.

Signed in Montgomery, Montgomery County, Texas on December 11, 2024.




                                         Jerod Furr




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